Case 1:18-cv-00124-GJQ-RSK ECF No. 33-1 filed 04/23/18 PageID.243 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


DANIEL WILLIAM RUDD,

              Plaintiff,

v.

THE CITY OF NORTON SHORES;
MAYOR GARY NELUND,
individually and in his official capacity;
CHIEF DANIEL SHAW & CHIEF JON GALE,                  Case No. 1:18-cv-124
individually and in their official capacities;
SERGEANT MATTHEW RHYNDRESS,                          HON. GORDON J. QUIST
individually and in his official capacity;           U.S. DISTRICT COURT JUDGE
OFFICER MICHAEL WASSILEWSKI,
individually and in his official capacity;
MARK MEYERS, individually and as city manager;
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F/LT. CHRIS MCINTIRE, Michigan State Police
only in his individual capacity;                       COMPLAINT & DEMAND
------                                                   FOR A JURY TRIAL
ATTORNEY DOUGLAS HUGHES,
Individually and acting on behalf of his law firm;
WILLIAM HUGHES, PLLC
A Michigan law firm.
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ATTORNEY MELISSA MEYERS,
Individually and acting on behalf of her law firm;
ATTORNEY MICHELLE MCLEAN,
Individually and acting on behalf of her law firm;
ATTORNEY JOEL BAAR,
Individually and acting on behalf of his law firm;
BOLHOUSE, BAAR & HOFSTEE PC;
A Michigan law firm.
                        Defendants.

Plaintiff, Daniel W. Rudd (a non-lawyer)
Is presently without representation.
201 S Lake Ave. Spring Lake, MI 49456
231-557-2532, daniel@stock20.com



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